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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO
                          JOHN L. KANE, SENIOR JUDGE


 Case No.     12-cr-00033-JLK-1               Date May 18, 2018


 Case Title   U.S. v. JAMSHID MUHTOROV


                                DEFENDANT            Witness List
                             (Plaintiff/Defendant)

               Witness                                      Date(s) Testified

  ASIL MUHTOROV

  NARGIZA MUHTOROVA

  RUTHANN KALLENBERG

  RIMA TAMAVICIENE

  ROBIYA MUHTOROVA

  ALLA SELETSKAYA

  VASILA INOYATOVA

  MICHAEL ANDERSEN

  STEVEN MARK SWERDLOW, ESQ.

  BAKHTIYOR JUMAEV

  ELENA URLAEVA

  DIRK GRUNWALD, Ph.D.
